
The Supreme Court affirmed the judgment of the Common Pleas on February 12, 1883, in the following opinion:
Per Curiam.
The defendant is purely a beneficial association. Its members are designated “patriarchs.” The constitution provides that if any one be taken sick, while in arrears more than three months’ dues, he cannot, by payment of the arrearages, become beneficial during such sickness. When the husband of the plaintiff was taken sick, he had been, and then was, in arrears in the payment of his dues, for more than three months. 'He continued sick until he died. The payment of dues during the continuance of his sickness did not restore him to the benefits of membership so far as to entitle him to either weekly benefits while sick, nor his wife or legal representatives to funeral benefits on his death.
Judgment affirmed.
